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 August 9, 2023

 VIA ECF
 The Honorable Sharon A. King
 United States Magistrate Judge
 United States District Court for the District of New Jersey

 Re:    Sampson v. Subaru of America, Inc., et al., No. 1:21-cv-10284-RMB-SAK

 Your Honor:

 I write on behalf of all parties to respectfully renew the request for a six-month extension of all
 current case management deadlines.

 During the July 17, 2023 telephonic status conference, the parties jointly requested a six-month
 extension of case management deadlines. While the Court did not grant the request at that time,
 the Court stated that it would revisit the request at the August 17 status conference and ordered
 the parties to raise any currently existing discovery disputes on or by July 24, 2023. ECF 91, 92.
 On July 21, 2023, the parties notified the Court that they had met and conferred and had no ripe
 discovery disputes to raise. ECF 93. Thereafter, the Court rescheduled the August 17 status
 conference to September 13, 2023, which is approximately two weeks before the start of expert
 discovery, beginning with Plaintiffs’ submission of affirmative expert disclosures and reports in
 support of their anticipated Motion for Class Certification. ECF 94.

 While the parties continue to work cooperatively and expeditiously to complete document
 productions, written discovery, and depositions, the parties will need additional time as reported
 to the Court on July 17, 2023. As a result, Plaintiffs will not be in a position to commence class
 certification expert discovery on September 29, 2023, as currently required. See ECF 88.
 Accordingly, the parties jointly and respectfully request the following adjustment of the
 Scheduling Order:

        •   All affirmative expert reports on class certification and disclosures pursuant to Fed. R.
            Civ. P. 26(a)(2) on behalf of Plaintiffs shall be served upon counsel for Defendants no
            later than September 29, 2023 – extension requested to March 29, 2024.
        •   Depositions of Plaintiffs’ experts in support of class certification shall be completed by
            November 14, 2023 – extension requested to May 14, 2024.
        •   All rebuttal expert reports on class certification and disclosures pursuant to Fed. R. Civ.
            P. 26(a)(2) on behalf of Defendants shall be served upon counsel for Plaintiffs no later
            than December 22, 2023 – extension requested to June 28, 2024.


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        •   Depositions of Defendants’ experts in opposition to class certification shall be
            completed by January 30, 2024 – extension requested to July 30, 2024.
        •   Class certification motions shall be filed with the Clerk of the Court no later than March
            1, 2024 – extension requested to September 2, 2024.

 The parties are prepared to submit a proposed amended scheduling order should the Court so
 request. Thank you for your consideration.

 Respectfully,



 Russell D. Paul

 cc: All Counsel of Record (by ECF)
